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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                    §
  an Indiana corporation,                         §
                                                  §
      Plaintiff,                                  §
                                                  §
v.                                                §       CIVIL ACTION NO. 1:CV-17-215
                                                  §
COBB MECHANICAL CONTRACTORS,                      §
INC.,                                             §
a Colorado corporation                            §
                                                  §
      Defendant                                   §
                                                  §
and                                               §
                                                  §
LIBERTY MUTUAL INSURANCE                          §
COMPANY,                                          §
a Massachusetts corporation                       §
                                                  §
      Defendant / Counter-Claimant                §
                                                  §

      LIBERTY’S RESPONSE IN OPPOSITION TO COBB MECHANICAL
 CONTRACTORS, INC.’S MOTION FOR AN ORDER APPROVING ESI PROTOCOL

       Defendant Liberty Mutual Insurance Company (“Liberty”) files this Response to Cobb

Mechanical Contractors, Inc.’s (“Cobb”) Motion to Approve E-Discovery Protocol (Dkt. 50).

Liberty objects to the motion to the extent it attempts to modify the Federal Rules and/or bind

Liberty to receiving and working with pictures of electronic documents rather than the native

format it requests, and respectfully states as follows:

                                                  I.
                                        Summary of the Response

       The Cobb Motion asks the Court to compel the parties to receive and work with single page

TIFF files. This is contrary to FRCP 34, which states the requesting party may specify the form in



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which electronically stored information is to be produced. Here, Liberty has specified that it

requests production in native format. The Advisory Committee’s notes to Rule 34 confirm that the

requesting party’s ability to designate the form or forms in which it wants electronically stored

information may facilitate the orderly, efficient, and cost-effective discovery of electronically

stored information. Federal courts have held that production in TIFF – the form Cobb proposes –

does not meet the standards of Rule 34, particularly where the requesting party specifies native

format. The Motion seeks to modify the Federal Rules of Civil Procedure by revoking Liberty’s

right to specify the form it desires. The Court should therefore deny the Motion.

                                                II.
                                            Discussion

       1.      The Electronic Discovery Protocol proposed by Cobb is contrary to the Federal

Rules of Civil Procedure. The Rules allow the requesting party to “specify the form or forms in

which electronically stored information is to be produced.” FED.R.CIV.P. 34(b)(1)(C). This means

that a party is entitled to specify native format. Morgan Hill Concerned Parents Ass’n v. California

Dept. of Educ., 2017 WL 445722, *4 (E.D. Cal. 2017) (ordering production in native format, as

requested by requesting party).

       2.      The Advisory Committee notes confirm that the requesting party’s ability to specify

the desired form or forms “may facilitate the orderly, efficient, and cost-effective discovery of

electronically stored information.” RULE 34(B)         ADVISORY COMMITTEE NOTES TO            2006

AMENDMENTS.

       3.      In order for the movant to alter the requirements of the Federal Rule on format,

there must be a showing supported by competent evidence to justify the deviation. This includes

demonstrating it is unduly burdensome to produce ESI in native format. Morgan Hill, 2017 WL

445722, *7. No such evidence has been presented to the court.


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           4.      Federal judges and commentators have also held that TIFF format is not acceptable

under the new Federal Rules of Civil Procedure. Bray & Gillespie Mgmt. LLC v. Lexington Ins.

Co., 259 F.R.D. 568, 585 (M.D. Fla. 2009) (holding party did not comply with Rule 34 by

converting documents to TIFF, because (1) it did not ordinarily maintain documents in that format

and (2) conversion stripped documents of function); In re Payment Card Interchange Fee &

Merchant Discount, No. MD-05-1720, 2007 WL 121426, at *4 (E.D.N.Y. Jan. 12, 2007) (holding

that “reasonably usable” provision did not allow party to convert native documents to TIFF

format); Craig Ball, Lawyer’s Guide to Forms of Production (2014);1 see also Dahl v. Bain Capital

Partners, LLC, 655 F. Supp. 2d 146, 150 (D. Mass. 2009) (“In the usual course of business, the

PE Firms maintain spreadsheets in their native format. Native format means that the spreadsheets

have certain search capabilities and attributes ... Rule 34 requires that the PE Firms produce the

spreadsheets in native format, keeping these attributes and search capabilities intact.”); Anderson

Living Trust v. WPX Energy Production, LLC, 298 F.R.D. 514 (D. N.M. 2014) (explaining that

native format is how electronic files are ordinarily maintained); Craig Ball, The Case for Native

Production (2014).2

           5.      Even absent specification of the requested form – which is not applicable here

because Liberty specifies native form – courts have held that conversion of native to TIFF fails to

meet the requirements of Rule 34. Goodbys Creek, LLC v. Arch Ins. Co., 2008 WL 4279693, *3

(M.D. Fla. 2008) (ruling that conversion from native to TIFF did not comply with Rule 34 because

“the information should not be produced in a form that removes or significantly degrades

[searchability].”); Hagenbuch v. 3B6 Sistemi Elettronici Industriali S.R.L., No. 04 C 3109, 2006


1
  http://www.craigball.com/Lawyers%20Guide%20to%20Forms%20of%20Production_Ver.20140512_TX.pdf (last
accessed August 15, 2017).
2
    Available at http://www.craigball.com/LIT_OctNov2014_EDiscoveryBulletin.pdf (last accessed August 15, 2017).


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WL 665005, at *3-*4 (N.D.Ill. Mar.8, 2006) (finding TIFF images inadequate).

       6.      A leading commentator on eDiscovery, who is often appointed a Special Master,

explains the obsolescence, cost, and burden of TIFF:

               The irony of .tiff and load file productions is that what was once a cutting-edge
               technology has become an albatross around the neck of electronic data discovery.

               Despite the sea change in what we seek to discover, lawyers cling to .tiff imaging
               and load files, obsolete technology that once made evidence easier to find but which
               now deep sixes probative content.

Craig Ball, Lawyer’s Guide to Forms of Production (2014) (debunking the myth of TIFF being

superior to native form, and countering the arguments raised by Cobb).

                                           Conclusion

       Liberty requests that the Court deny the Motion of Cobb (Dkt. 50).




                                             Respectfully submitted,

                                             LANGLEY LLP


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                                                 Counsel for Liberty Mutual
                                                 Insurance Company


                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing is to be delivered to the following
parties in accordance with the Federal Rules of Civil Procedure on the 15th day of August, 2017.



                                                      /s/ Keith A. Langley
                                                     Keith A. Langley


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